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                                          7   Attorneys for Plaintiff,
                                          8   Joan Wildman

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                                         11                           UNITED STATES DISTRICT COURT
                                                                    NORTHERN DISTRICT OF CALIFORNIA
                                         12
                                         13        JOAN WILDMAN,                                       Case No: 4:14-CV-02294-DMR
HYDE & SWIGART
                 San Diego, California




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                                                                         PLAINTIFF,                    NOTICE OF VOLUNTARY
                                         15        V.                                                  DISMISSAL OF ACTION WITH
                                                                                                       PREJUDICE
                                         16        EDUCATIONAL CREDIT
                                         17        MANAGEMENT                                          HON. DONNA M. RYU
                                                   CORPORATION,
                                         18
                                         19                              DEFENDANT.

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                                                   NOTICE OF VOLUNTARY DISMISSAL              - 1 of 2 -                       4:14-cv-02294-DMR
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                                          1          Plaintiff JOAN WILDMAN hereby moves this Court to dismiss the above
                                          2   entitled action with prejudice.
                                          3          WHEREFORE, Plaintiff respectfully requests that this court dismiss this
                                          4   action with prejudice.

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                                          6
                                              Dated: June 27, 2014                                     HYDE & SWIGART
                                          7
                                          8                                                     By: s/Crosby S. Connolly
                                                                                                    Crosby S. Connolly
                                          9                                                        Attorney for Plaintiff
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                 San Diego, California




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                                                NOTICE OF VOLUNTARY DISMISSAL                 - 2 of 2 -                       4:14-cv-02294-DMR
